Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 1 of 69 PageID #: 24




                    EXHIBIT A
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 2 of 69 PageID #: 25
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 3 of 69 PageID #: 26
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 4 of 69 PageID #: 27
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 5 of 69 PageID #: 28
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 6 of 69 PageID #: 29
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 7 of 69 PageID #: 30
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 8 of 69 PageID #: 31
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 9 of 69 PageID #: 32
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 10 of 69 PageID #: 33
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 11 of 69 PageID #: 34
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 12 of 69 PageID #: 35
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 13 of 69 PageID #: 36
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 14 of 69 PageID #: 37
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 15 of 69 PageID #: 38




                     EXHIBIT B
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 16 of 69 PageID #: 39
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 17 of 69 PageID #: 40
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 18 of 69 PageID #: 41
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 19 of 69 PageID #: 42
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 20 of 69 PageID #: 43
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 21 of 69 PageID #: 44
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 22 of 69 PageID #: 45
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 23 of 69 PageID #: 46
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 24 of 69 PageID #: 47
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 25 of 69 PageID #: 48
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 26 of 69 PageID #: 49
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 27 of 69 PageID #: 50
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 28 of 69 PageID #: 51
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 29 of 69 PageID #: 52
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 30 of 69 PageID #: 53
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 31 of 69 PageID #: 54
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 32 of 69 PageID #: 55
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 33 of 69 PageID #: 56
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 34 of 69 PageID #: 57
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 35 of 69 PageID #: 58
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 36 of 69 PageID #: 59




                    EXHIBIT C
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 37 of 69 PageID #: 60
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 38 of 69 PageID #: 61
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 39 of 69 PageID #: 62
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 40 of 69 PageID #: 63
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 41 of 69 PageID #: 64
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 42 of 69 PageID #: 65
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 43 of 69 PageID #: 66
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 44 of 69 PageID #: 67
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 45 of 69 PageID #: 68
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 46 of 69 PageID #: 69
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 47 of 69 PageID #: 70
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 48 of 69 PageID #: 71
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 49 of 69 PageID #: 72
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 50 of 69 PageID #: 73
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 51 of 69 PageID #: 74
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 52 of 69 PageID #: 75
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 53 of 69 PageID #: 76
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 54 of 69 PageID #: 77
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 55 of 69 PageID #: 78
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 56 of 69 PageID #: 79




                    EXHIBIT D
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 57 of 69 PageID #: 80
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 58 of 69 PageID #: 81
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 59 of 69 PageID #: 82
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 60 of 69 PageID #: 83
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 61 of 69 PageID #: 84
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 62 of 69 PageID #: 85
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 63 of 69 PageID #: 86
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 64 of 69 PageID #: 87
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 65 of 69 PageID #: 88
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 66 of 69 PageID #: 89
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 67 of 69 PageID #: 90
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 68 of 69 PageID #: 91
Case 1:18-cv-01436-MN Document 1-1 Filed 09/17/18 Page 69 of 69 PageID #: 92
